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STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

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17 2781

 

 

 

- against -
.§O\ .`-"l )L 020\ ZO\¢"L» 5 QOL(" COMPLAINT
jj 6 gm l€r“§p,'\i§’€) ali'}((-Jr»lt)oml@$'{ meTrial; El Yes E/No
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cannr)?fii the names of all ofrhe de_}%ndonfs in the space provided
please write "see attached " in tile space above and attach on
addiiionol sheet ofpnper with ihejiiii list ofnomes. The names
iisred in tire above caption must be identich to ihose contained in
Pari I, Addre.r.ses should not be included here.)

I. Parties in this complaint:

A. List your name, address and telephone number. If you are presently in custody, include your identification
number and the name and address of your current place of confinement. Do the same for any additional
plaintiffs named Attach additional sheets of paper as necessary

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Piaintiti` Name _2:_|`/-{5“€’°\ A ’ 5 Ul{;)-£’/
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Telephone Number g l S"' q 151 Q\J-Jcl

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B. List all defendants. `You should state the full name of the defendants even if that defendant is a govenn‘nent
agency, an organization, a corporation or an individuall Include the address where each defendant can be
served. Make sure that the defendant(s) listed below are identical to those contained in the above caption
Attach additional sheets ot` paper as necessary

DefendantNo. l Name gic-tin i' LG\ 2 OW`L/ ~5/ JS)OJ\ N_
Street Ad.dress /Q 2 by , 6:.`/\07-\4 A\/W`l\./`€ l
County, Ciry 'VJ/v la..»,l€l n iii a F /1.'1 safe la /?"`a
State & Zip Code [?A L _i "l ii 13 t

Defendant No. 2 Narne j :)' 61 gm `l`Q(\lili`ré,~€§ ghi U?Ot/'Y`t."{-`/"?f{
Street Address f{ } ,)_ \V'P.jl` (,: |` neu-pi 1/1/'§’\. bee
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Defendant No. 3 Narne 323/lim h n] ' arm §
Street Address v /lU ;)- \/V"Qj,i' ("` ifT/V`ei /4 m ve
Count'y, City WA| lulvbi bill @\ ., PA-i{'&{'lp{’h]¢\
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DefendantNo. 4 Name 5 r€{l loan GM(l /’_S

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County, City “'Uim ita UW _/i‘{’°i“\ _i pit 5 lack ip xii/v
stare &. zip Code 163 )‘i § l"l l 13

II. Basis for .Iurisdict]`on:

F ederal courts are courts of limited jurisdiction Only two types of cases can be heard in federal court1 cases
involving a federal question and cases involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a
case involving the United States Constitution or federal laws or treaties is a federal question case. Undcr 28 U.S.C. §
1332, a case in which a citizen of one state sues a citizen of another state and the amount in damages is more than

$75,000 is a diversity of citizenship case.
A. What is the basis for federal court jurisdiction? (ciiecic ali that apply
Q Federal Questions Q Diversity of Citz`zenship
l
B. If the basis for jurisdiction is Federai Question, what federal Constitutional, statutory or treaty ri t is at l

issue? l/i(j,lv\"l(;f\\)~ OF Am€l"|l;m\§ '-.A,r'\"i’\ ig%£’\.ljiil'|`i`€b ("'i'l
AOA,,. iii t/,S,C-nllo,/

 

 

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C. lf the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each p_art'y?

Piaintiti`(s] state(s} of citizenship

 

Defendant(s) state(s) of citizenship

 

III. Statement of Clairn:

State as briefly as possible the §a_ct_s of your case. Describe how _e_ac_h of the defendants named in the caption of this
complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
include further details such as the names of other persons involved in the events giving rise to your claims. Do not
cite any cases or statutesl If you intend to allege a number of related claims, number and set forth each claim in a

separate paragraph Attach additional sheets of paper as necessary

A. Where did the events giving rise to your claim(s) occnr? Tl\Q ~Sd»w~,'i [LMZ vtr"v) )BPV -

/UJ\ \/\-/* i.;;\`i`wo* A"f palm fill lull-113 , I\'lYP/i 14 S"\lJ€l weis cri?rii&l F’\l`f`¢”)té "’F
)Sl‘ci° di 6. l"\[¢\€\f

B. What date and approximate time did the events giving rise to your claim(s) occur? f' l,' O; 7

tacoma 113 0 pm

 

 

What _C. Facts:.;\~tiql“ dr 714 Swf/}ilk,ii¢\ Jh‘\é:lii;':_ D\Qi»/c-(.».>P plurqu using l~'f'i»"i¢'/{ QSHEV(
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IV. Injuries:

If you sustained injuries related to the events alleged above, describe them and state what medical treatment, if any,

you required and received.

 

 

 

 

 

 

 

 

 

 

V. Relief:

State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and

the basis for such compensation

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I declare under penalty of perjury that the foregoing is true and correct.

signedihis/"/ dany jqu §20/7.

Signatune ofPlaintiff c , V n _ .. .
stating Addr€s?T{// )';/’ W c
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c r` A.'(acM/pA;--i //A /%;L§
Telcphone Number l i _S_ 67-)~\5! ;?~Z// ?

Fax Number (tfyou have one)

E-mailAddresS hvx,§l/U§C'él{nif` 3 Ca//§\/?;Ot'{-CG'\

 

Note: All plaintiffs named in the caption of the compiaint must date and sign the complaint Prisoners must also
provide their inmate numbers, present place of confinement and address

F or Prisoners:

l declare under penalty of perjury that on this day of , 20 , I am delivering

this complaint to prison authorities to be mailed to the Cierk‘s Oft'tce of the United States District Cou.rt for the
Eastern District of Pennsylvania.

Signature of Plaintiff:

 

Inmate Number

 

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IN THE UNITED STATES DISTRICT COURT FOR TI-IE EASTERN DISTRICT OF
PENNSYLVANIA

Plaintiff, Eileen A Sabel ln Forma Pauperis
v. civil Accion NO. 1 \7 2 7 8 1
Defendant_. Saint Lazarus Bar l'i'-CV~Pro Se

JJG Enterprises Incorporated,
Janay M. Green, Brendan Olkus

COMPLAINT

COMES NOW the plaintitt`, Eileen A Sabel, appearing pro se, and for a complaint
against the defendant above named, states, alleges, and avers as follows:

 

JURISDICTION

l. This Court has subject matter jurisdiction under 28 U.S.C. sections 1331 and
1343.

2. This action is commenced pursuant to 28 U.S.C. sections 2201 and 2202 and
42 U.S.C._, section 1983.

GENERAL ALLEGATIONS

3. l, Eileen A. Sabel, the plaintiff am a citizen of the State of Pennsylvania,
United Statcs of America.

4. Det`endants, Saint Lazarus Bar, JJG Enterprises Incorporated .lanay M. Green

and Brendan Olkus (hereby collectively known as Saint Lazarus Bar) run or
own and at all times pertinent to the complaint have owned a commercial
business, a bar, at 102 W. Girard Avenue, Philadelphia PA 19123.

5. I am an individual With disabilities that cause mobility impairment I use a
motorized wheelchair for mobility.
6. I want to eat and drink at Saint Lazarus Bar but the establishment is

inaccessible to persons like me who use wheelchair.

7. On July 26, 1990, Congress enacted the Americans with Disabilities Act, 42
U.S.C. section 12101, et squ establishing the most important civil rights law
for persons with disabilities in our country’s history.

8. The Congressional statutory findings include:

a. “Some 43,000,000 Atnericans have one of more physical or mental
disabilities

b. “Historically, Society has tended to isolate and segregate individuals with
disabilities and despite some improvements, such forms of discrimination
against individuals with disabilities continue to be a serious and pervasive
social problem;

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c. “Discrimination against individuals with disabilities persists in such critical
areas as ...public accommodations;

d. “lndividuals with disabilities continually encounter various forms of
discrimination, including . . .the discriminatory effects of architectural
barriers; [and]

e. “The continuing existence of unfair and unnecessary discrimination and
prejudice denies people with disabilities the opportunity . . .To pursue those
opportunities for which our nee society is justifiably famous . . . “42 U.S.C.
section 12101 (a).

9. Congress went on to state explicitly the purpose of the Americans with

Disabilities Act, to be:

a. “to provide a clear and comprehensive national mandate for the
elimination of discrimination against individuals with disabilities;

b. “to provide clear, strong, consistent, enforceable standards addressing
discrimination against individuals with disabilities; and

c. “to invoke the sweep of Congressional authority . . .To regulate
commerce, in order to address the major areas of discrimination faced day-to-
day by people with disabilities.” 42 U.S.C. section 12101 (b).

10. Congress gave commercial businesses one and a half years to implement the
Act. The effective date was January 26, 1992,
ll. Nevertheless, Saint Lazarus Bar has not eliminated step that prevents me and

other persons using wheelchairs from entering, this commercial establishment
See exhibit “A” Photos of the inaccessible one -step barrier is attached as
Exhibit “”,B “C”, and “D.”

12. One of the most important parts of the Americans with Disabilities Act is Title
111, known as the “Public Accommodations and Services Operated by Private
Entities.” 42 U.S.C. section 12181.

13. Congress included a “bar” as a public accommodation covered by the Act. 42
U.S.C. section 12181.

14. Saint Lazarus Bar business is a bar.

15. As relevant to the present action, discrimination includes, “a failure to remove
architectural barriers . . . that are structural in nature, in existing facilities . . .
where such is readily achievable.” See Exhibit E, 42 U.S.C. section 12182 (b)
c2) cA) civ).

16. The U.S. Department of Justice, in promulgating the federal regulations to
implement this Act, defined “readily achievable” to mean “easily
accomplishab|e and able to be carried out without much difficulty or
expense,” including installing an entrance ramp. “28 C.F.R. section 36.304
(a)" (C)-

l'i'. Other commercial facilities similar to the defendant’s have made similar
modifications, like what l am asking here. An example of this is JOhnny
Brenda’s, a barfrestaurant that is located 4 blocks from Saint Lazarus Bar at
1201 Frankford Ave. See photograph of exhibit “F.”

18. Defendant could easily make its business accessible but has chosen not to
comply with the Americans with Disabilities Act.

19. To assist businesses with complying With the ADA, Congress has enacted a
tax credit for small businesses and a tax deduction f`or all businesses. See,

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Section 44 and 190 of the iRS Code. An eligible small business is allowed a

tax credit equal to 50% of the amount of the eligible access expenditures

between $250 and $10,500 for any tax year. A business that removes

architectural barriers e.g., by modifying ramps, grading, entrances, doors and

doorways, may receive an annual tax deduction of up to 315,000 each year.
20. Plaintiff want to eat in the defendant’s restaurant

FIRST CLAIM § RELIEF

21. Pursuant to the Americans with Disabilities Act, 42 U.S.C. section 12101, et
seg., and the federal regulations promulgated pursuant to this Act, 28 C.F.R.
36.304, defendant was to make the commercial facility at 102 W. Girard
Avenue, Philadelphia, PA 19123 accessible by January 26, 1992. To date_,
defendant has not.

22. By failing to remove the architectural barrier where such removal is readily
achievable, defendant discriminates against plaintiffs and violates the
Americans with Disabilities Act.

WHEREFORE, the plaintiff, Eileen A Sabel, pray that the Court issue an injunction

enjoining the defendant from continuing its discrimination and that the Court award
plaintiffs such additional or alternative relief as may be just, proper, and equitable,
including costs.

Respectiillly submitted,
Dated: 0 "/“l`)'Ul l ' \(,

Eileen A Sabel y

911 North Franklin Street,
Apt. 514 Phila. Pa. 19123
215-925-2219

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IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
PENNSYLVANIA

Plaintiff, Eileen A Sabel In Forma Pauperis
V. Civil Action No.
l?-CV-Pro Se

Defendant, Saint Lazarus Bar
JJG Enterpri ses Incorporated,
Ianay M. Green, Brendan Ollcus

PRO SE MOTION TO COMMENCE AN ACTION
WlTI-IOUT PREPAYMENT OF FEES. COSTS OR SECURITY

The plaintiff, Eileen A Sabel, requests leave to commence an action without prepayment
of fees, costs or the necessity of giving security pursuant to 28 U.S.C. 1915, and submits
the accompanying affidavit in support of this motion and states:

1. That the plaintiff is entitled to commence said action against defendant because of
the violation of Americans with Disabilities Act by defendants

2. That the plaintiff is unable to prepay fees costs or give security aYhas no funds
with which to pay the filing fees.

 
    
  

Et leen A
911 North Franklin Street, Ap .
514 Pl'lila. Pa. 19123
215-925-2219

Dated: 6//`7’? "7 7

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IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
PENNSYLVANIA

Plairitiff, Eileen A Sabel In Forma Pauperis
V. Civil Action No.
IF-CV-Pro Se

Defendant, Saint Lazarus Bar
JJG Enterprises Incorporated,
Janay M. Green, Brendan Olkus

VERIFICATION IN SUPPORT OF APPLICATION FOR LEAVE TO PROCEED
WITHOUT PREPAYMENT OF FEES, COSTS OR SECURITY

l understand that false statements herein are made subject to the penalties of 28 U.S.C.
section 1746 relating to unwom falsification to authorities

1, the understand, affirm or being first duly sworn, depose and say that in support of my
application to proceed in this action without being required to prepay fees, costs, or give
security, state that because of my poverty or fixed income, I am unable to pay the costs of
these legal proceedings or to give security. I believe 1 am entitled to redress for the
reasons given:

The discriminatory activity is that defendant violates the Americans with
Disabilities Act by failing to remove a readily achievable architectural barrier.

I further swear or affirm that the responses which I have made to the questions
below relating to my ability to pay the cost of prosecuting this Action and other matters
are true:

1. 1 am single and have no children.
2. I live at 911 North Franklin Street, Apt. 514, Philadelphia. Pa where l rent in the
amount of 196.00 per month.

3. l am not employed
4. My source of income is a widow’s pension, in the amount of $63'?.00 per month.
5. 1 do not own a car.
6. My cash in the bank or savings and loan associations is $8.50
_.¢-‘
/ _ .
Date: é//%¢)O/ 7 __ \f>
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911 North Franklin Street, Apt.
514 Phila. Pa. 19123
215-925-2219

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417 U.S. C_ode § 12182 - Prohibition o.f` discrimination by public accommodations l US La... rage l or 3

father g

Cornell l_aw Schoc!

U.S. Code > Title 42 > Chapter 126 > Subchapter lll > § 12182

42 U.S. Code § 12182 - Prohibition of discrimination by
public accommodations

Current through Pub. L. 114-38. (See Public Laws for the current Congress.)

(a) GENERAL RuLE
No individual shall be discriminated against on the basis ofdisability in the full and

equal enjoyment of the goods, services, facilities, privileges, advantages or
accommodations of any place of public accommodation by any person vvho owns,
leases (or leases to), or operates a place of public accommodation.

(b) coNsTRucnoN
(1) GENERAL PRoi-iiairiou
{A) Activities
(i) Denial of participation
lt shall be discriminatory to subject an individual or class of individuals
on the basis of a disability or disabilities of such individual or classl
directly, or through contractual, licensing, or other arrangements to a
denial of the opportunity of the individual or class to participate in or
benefit from the goods, services, facilities, privileges, advantages or
accommodations of an entity.

(ii) Participation in unequal benefit

lt shall be discriminatory to afford an individual or class of individ uais,
on the basis of a disability or disabilities of such individual or class,
directly, or through contractual, licensing, or other arrangements with
the opportunity to participate in or benefit from a good, service, facility,
privilege, advantage, or accommodation that is not equal to that
afforded to other individuals

(iii) Separate benefit

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42 U.S. Code § 12182 - Prohibition of_discrimination by public.acconnnodations 1 Ub La... rage 2 ui .i

lt shall be discriminatory to provide an individual or class of individuals
on the basis of a disability or disabilities ofsuch individual or class
directly, or through contractual, licensing, or other arrangements With a
good, service, facility, privilege, advantage, or accommodation that is
different or separate from that provided to other individuals unless
such action is necessary to provide the individual or class of individuals
With a good, service, facility, privilege, advantage, or accommodation,
or other opportunity that is as effective as that provided to others

(iv) individual or class of individuals

For purposes of clauses (i) through (iii) of this subparagraph, the term
“individua| or class of individuals” refers to the clients or customers of
the covered public accommodation that enters into the contractual,
licensing or other arrangement.

{B) integrated settings
Goods, services facilities privileges advantages and accommodations

shall be afforded to an individual with a disability in the most integrated
setting appropriate to the needs of the individua|.

(C) Opportunity to participate

Notwithstanding the existence of separate or different programs or
activities provided in accordance with this section, an individual with a
disability shall not be denied the opportunity to participate in such
programs or activities that are not separate or different

(D) Administrative methods An individual or entity shall not, directly or through
contractual or other arrangements utilize standards or criteria or methods of
administration_

(i) that have the effect ofdiscriminating on the basis of disability; or

(ii) that perpetuate the discrimination of others who are subject to common
administrative control.

(E) Association

lt shall be discriminatory to exclude or otherwise deny equal goods
services facilities, privileges advantages accommodations or other
opportunities to an individual or entity because of the known disability of an
individual with whom the individual or entity is known to have a relationship
or association

https:i'fwww.law.cornell.edui'uscodei*text)'42i'12182 611 8£201 'i'

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42 U.S. Code § 12182 - Prohibition of discrimination by public accommodations j US La... lJage j of b

(2) SPEC|F|C PROH|B|T|ONS
(A) Discrimination For purposes of subsection (a), discrimination includes-

(i) the imposition or application of eligibility criteria that screen out or tend to
screen out an individual with a disability or any class of individuals with
disabilities from fully and equally enjoying any goods services facilities
privileges advantages or accommodations unless such criteria can be shown to
be necessary for the provision of the goods services facilities privileges
advantages or accommodations being offered;

(ii) a failure to make reasonable modifications in policies practices or
procedures when such modifications are necessary to afford such goods
services facilities privileges advantages or accommodations to individuals with
disabilities unless the entity can demonstrate that making such modifications
would fundamentally alter the nature of such goods services facilities, privileges
advantages or accommodations

(iii) a failure to take such steps as may be necessary to ensure that no individual
with a disability is excluded denied services segregated or otherwise treated
differently than other individuals because of the absence of auxiliary aids and
services unless the entity can demonstrate that taking such steps would
fundamentally alter the nature of the good, service, facility, privilege, advantage,
or accommodation being offered or would result in an undue burden;

(iv) a failure to remove architectural barriers and communication barriers that are
structural in nature, in existing facilities, and transportation barriers in existing
vehicles and rail passenger cars used by an establishment for transporting
individuals (not including barriers that can only be removed through the
retrofitting of vehicles or rail passenger cars by the installation of a hydrauiic or
other lift), where such removal is readily achievab|e; and

(v) where an entity can demonstrate that the removal of a barrier under clause
(iv) is not readily achievable, a failure to make such goods services facilities
privileges advantages or accommodations available through alternative
methods if such methods are readily achievable.

(B) Fixed route system
(i) Accessibility
lt shall be considered discrimination for a private entity which operates
a fixed route system and which is not subject to section 12184 of this
title to purchase or lease a vehicle with a seating capacity in excess of
16 passengers (including the driver) for use on such system, for which

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42 U.S. Code § 121 82 - Prohi`bition of discrimination by public accommodations | us La... rage 4 ot J

a solicitation is made after the 30th day following the effective date of
this subpara_graph, that is not readily accessible to and usable by
individuals with disabilities including individuals who use wheelchairs.

(ii) Equivalent service

lf a private entity which operates a fixed route system and which is not
subject to section 12184 of this title purchases or leases a vehicle with
a seating capacity of 16 passengers or less (including the driver) for
use on such system after the effective date of this subparagraph that is
not readily accessible to or usable by individuals with disabilities it
shall be considered discrimination for such entity to fail to operate such
system so that, when viewed in its entirety, such system ensures a
level of service to individuals with disabilities including individuals who
use wheelchairs equivalent to the level of service provided to
individuals without disabilities

(C) Demand responsive system For purposes of subsection (a), discrimination
includes-

(i) a failure of a private entity which operates a demand responsive system and
which is not subject to section 12184 of this title to operate such system so that,
when viewed in its entirety, such system ensures a level of service to individuals
with disabilities including individuals who use wheelchairs equivalent to the level
of service provided to individuals without disabilities and

(ii) the purchase or lease by such entity for use on such system of a vehicle with
a seating capacity in excess of 16 passengers (including the driver), for which
solicitations are made after the 30th day following the effective date of this
subparagraph, that is not readily accessible to and usable by individuals with
disabilities (including individuals who use wheelchairs) unless such entity can
demonstrate that such system, when viewed in its entirety` provides a level of
service to individuals with disabilities equivalent to that provided to individuals
without disabilities

(D) Over-the-road buses

{i) Limitation on applicability
Subparagraphs (B) and (C) do not apply to over-the-road buses

(ii) Accessibility requirements

For purposes of subsection (a), discrimination includes (l) the purchase
or lease of an over-the-road bus which does not comply with the
regulations issued under section 12186(a)(2) of this title by a private

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entity which provides transportation of individuals and which is not
primarily engaged in the business of transporting people, and (||) any
other failure of such entity to comply with such regulations

(3) SPEchlC coNsTRuchoN

Nothing in this subchapter shall require an entity to permit an individual to
participate in or benefit from the goods services facilities privileges
advantages and accommodations of such entity where such individual poses a
direct threat to the health or safety of others The term "direct threat” means a
significant risk to the health or safety of others that cannot be eliminated by a
modification of policies practices or procedures or by the provision of auxiliary
aids or services

(Pub. l_. 101-336, title |||, §302, duly 26, 1990, 104 Stat. 355.)

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